                IN THE UNITED STATES DISTRICT COURT
                MIDDLE DISTRICT OF NORTH CAROLINA

NORTH CAROLINA DEMOCRATIC
PARTY; CUMBERLAND COUNTY
DEMOCRATIC PARTY; DURHAM
COUNTY DEMOCRATIC PARTY;
FORSYTH COUNTY DEMOCRATIC
PARTY; GUILFORD COUNTY
DEMOCRATIC PARTY;
MECKLENBURG COUNTY
DEMOCRATIC PARTY; ORANGE
COUNTY DEMOCRATIC PARTY; and
WAKE COUNTY DEMOCRATIC
PARTY,

                            Plaintiffs,

                 v.

PHILLIP E. BERGER, in his official        CIVIL ACTION NO. 1:17-cv-1113
capacity as PRESIDENT PRO TEMPORE
OF THE NORTH CAROLINA SENATE;
TIMOTHY K. MOORE, in his official
capacity as SPEAKER OF THE NORTH
CAROLINA HOUSE OF
REPRESENTATIVES; THE STATE OF
NORTH CAROLINA; THE NORTH
CAROLINA BIPARTISAN STATE
BOARD OF ELECTIONS AND ETHICS
ENFORCEMENT; and KIMBERLY
STRACH, in her official capacity as
EXECUTIVE DIRECTOR OF THE
NORTH CAROLINA BIPARTISAN
STATE BOARD OF ELECTIONS AND
ETHICS ENFORCEMENT,

                          Defendants.




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PLAINTIFFS’ OPPOSITION TO DEFENDANTS’ JOINT MOTION TO EXTEND
   TIME TO RESPOND TO PLAINTIFFS’ MOTION FOR PRELIMINARY
                          INJUNCTION

        Plaintiffs respectfully oppose Defendants’ request for an additional 15 days to

respond to Plaintiffs’ motion for a preliminary injunction (ECF 26), and in support of

their opposition Plaintiffs submit the following:

        1.    This is an urgent matter in which Plaintiffs seek to maintain the alignment

of the 2018 elections for judicial offices with all other elections for state offices.

        2.    Over the veto of North Carolina Governor Roy Cooper, legislation enacted

by Defendants in October 2017 eliminated primaries for all judicial offices and

established the filing period for these offices as June 18, 2018 through June 29, 2018.

S.L. 2017-214. That legislation becomes effective in five days on January 1, 2018.1

        3.    The formal 2018 election cycle for all other state offices is set to begin on

February 12, 2018, when candidates for those offices file for primaries set for May 8,

2018.

        4.    The legislation in question has therefore created a misalignment between

judicial elections and elections for other state offices.

        5.    Promptly realigning the filing periods for judicial and other state offices

and restoring judicial primaries will benefit the public, voters, and candidates for judicial

offices. It will also avoid potential harm to the public, to potential candidates for judicial



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  Defendants eliminated judicial primaries notwithstanding prior legislation that made
judicial elections partisan. Session Law 2016-125; Session Law 2017-3.


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offices, and to voters. As retired Wake County Senior Resident Superior Court Judge

Donald Stephens explained in his declaration, “the absence of primaries in 2018 judicial

elections will…significantly deprive voters of their best opportunity to learn about the

essential qualifications of each candidate…and will deprive each candidate of an

important means for advancing their candidacy.” (ECF 14-7, p. 4).

      6.     This is not a complicated matter, legally or factually. There is no dispute as

to the facts on which Plaintiffs rely in requesting a preliminary injunction restoring the

status quo. Those facts were generated by the Defendants themselves and are set forth in

public records.

      7.     Plaintiffs’ request for a preliminary injunction turns on two legal issues:

whether Defendants have any regulatory interest in eliminating primaries for judicial

offices and, if so, whether that interest outweighs the substantial burden on Plaintiffs’

First Amendment right to freedom of association.

      8.     It is the Holiday Season, but the 21-day period set by LR 7.3(f) for

responding to motions is sufficient for Defendants to identify and present any arguments

they may have sufficient to respond to Plaintiffs’ Motion for Preliminary Injunction.

Defendants’ justifications for the elimination of judicial primaries are within their own

knowledge.

      9.     Moreover, Defendants should have understood the consequences and effect

of the challenged legislation when it was enacted in October 2017, and can promptly

mount any defense they may have to that legislation.



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       10.    As of the date of this filing, all Defendants have waived service, and

Plaintiffs will promptly file those waivers with the Court.

       11.    In an effort to account for the preferences of Defendants’ counsel,

Plaintiffs’ counsel have already offered to consent to an extension of time until Friday

January 5, 2018.

       12.    In an effort to promptly complete the briefing on their request for

preliminary relief, Plaintiffs are prepared to respond to any objections Defendants may

have to the issuance of a preliminary injunction within 3 business days of the filing of

Defendants’ papers.

       Wherefore, Plaintiffs request the Court;

              (a) to deny Defendants’ request to extend their time to respond to Plaintiffs’

       motion for preliminary relief to January 16, 2018;

              (b) not to extend Defendants’ time for responding to Plaintiffs’ motion for

       preliminary relief beyond January 5, 2018;

              (c) to shorten the time for Plaintiffs to reply to Defendants’ response to 3

       business days following Defendant’s response; and

              (d) to enter such other orders as may facilitate the prompt restoration of the

       status quo.




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This the 27th day of December, 2017.

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                            CERTIFICATE OF SERVICE

       I hereby certify that I have this day electronically filed the foregoing with the

Clerk of Court using the CM/ECF system which will send notification of such filing to all

counsel and parties of record.


       This the 27th day of December, 2017.

                                         /s/ Edwin M. Speas, Jr.
                                         Edwin M. Speas, Jr.




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